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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

WILLIAM MILLER,

        Petitioner,

vs.                                                    4:03-CV-313-SPM

DEPARTMENT OF CORRECTIONS,

     Respondent.
________________________________/

  ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION
                   AND DISMISSING CASE

        THIS CAUSE comes before the Court upon the magistrate judge's report

and recommendation (doc. 22) dated August 31, 2006. The parties have been

furnished a copy and have been afforded an opportunity to file objections. No

objections have been filed to date.

        Pursuant to Title 28, United States Code, Section 636(b)(1), I have

determined that the report and recommendation should be adopted.

        Accordingly, it is

        ORDERED AND ADJUDGED as follows:

        1.     The magistrate judge's report and recommendation (doc. 22) is

               adopted and incorporated by reference in this order.
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  2.    The petition for writ of habeas corpus (doc. 1) is hereby denied.

  3.    This case is dismissed with prejudice.

  DONE AND ORDERED this twenty-sixth day of September, 2006.


                               s/ Stephan P. Mickle
                            Stephan P. Mickle
                            United States District Judge
